         Case 1:19-cr-00018-ABJ Document 170 Filed 08/09/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

              Plaintiff,
v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                    ROGER J. STONE'S RESPONSE TO
       GOVERNMENT'S MOTION IN LIMINE TO ADMIT THE “UPLOAD” OR
            “CREATION” DATE FOR VARIOUS VIDEOS (Dkt. #155)

       Roger Stone does not object to the veracity of the business records attached to the

government’s motion. However, Stone reserves and preserves all of his objections to all the

videos noted in the government’s motion, on the basis of, inter alia, admissibility, relevance,

prejudice, and accuracy of the claimed timeline the government seeks to draw from the business

record upload dates.

                                                   Respectfully submitted,

                                                   By: /s/_______________

                                               BRUCE S. ROGOW
L. PETER FARKAS                                FL Bar No.: 067999
HALLORAN FARKAS + KITTILA, LLP                 TARA A. CAMPION
DDC Bar No.: 99673                             FL Bar: 90944
1101 30th Street, NW                           BRUCE S. ROGOW, P.A.
Suite 500                                      100 N.E. Third Avenue, Ste. 1000
Washington, DC 20007                           Fort Lauderdale, FL 33301
Telephone: (202) 559-1700                      Telephone: (954) 767-8909
Fax: (302) 257-2019                            Fax: (954) 764-1530
pf@hfk.law                                     brogow@rogowlaw.com
                                               tcampion@rogowlaw.com
                                               Admitted pro hac vice
         Case 1:19-cr-00018-ABJ Document 170 Filed 08/09/19 Page 2 of 2



ROBERT C. BUSCHEL                                 GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                             STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                             D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300                   FL Bar No.: 935212
100 S.E. Third Avenue                             401 East Las Olas Boulevard
Fort Lauderdale, FL 33394                         Suite 130-120
Telephone: (954) 530-5301                         Fort Lauderdale, FL 33301
Fax: (954) 320-6932                               Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                              gsmith@strategysmith.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 9, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                              ___/s/ Robert Buschel _______________
                                                     Robert Buschel
    United States Attorney’s Office for the District of
                       Columbia
Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed
Aaron S.J. Zelinsky
Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393


                                                  2
